Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 1 of 14 Pageid#: 322




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Roanoke Division
 __________________________________________
                                            )
 JOSHUA LEE SMITH,                          )
                                            )
 Plaintiff,                                 )
                                            )
 v.                                         )
                                            )     Case No. 7:22-cv-00238
 TWIN COUNTY REGIONAL HEALTHCARE, )
 et al.,                                    )     PLAINTIFF’S OPPOSITION TO
                                            )     DEFENDANT KARL R. HADE’S
                                            )     MOTION TO DISMISS
 Defendants.                                )
 __________________________________________

        Plaintiff Joshua L. Smith opposes the Motion to Dismiss (ECF No. 52) of Defendant Karl

 R. Hade. Pursuant to this Court’s July 18, 2022 Order (ECF No. 55), this Memorandum of

 Opposition is timely submitted. Mr. Smith has plausibly and adequately pleaded his claim against

 Defendant Hade arising under the Americans with Disabilities Act (“ADA”), and this Court should

 sustain Mr. Smith’s ADA claim (Claim V) against Defendant Hade.

                                          INTRODUCTION

        Defendant Hade advances no meaningful argument against the merits of Mr. Smith’s ADA

 claim arising from a judicial proceeding where Mr. Smith was denied bond on the basis of a

 perceived substance abuse disorder and ultimately incarcerated because he was physically unable

 to stand up. Indeed, Defendant Hade implicitly concedes that Mr. Smith has stated a claim for a

 violation of the ADA on the basis of being denied the ability to defend himself in a judicial

 proceeding due to his disability. Defendant Hade does not contest that Mr. Smith is a qualifying

 individual with a disability, nor does he challenge that Mr. Smith is entitled to nondiscrimination

 in Virginia’s judicial system under the ADA. Instead, Defendant Hade advances various defenses

 and immunities that have been rejected by numerous courts, none of which are availing.


                                                     1
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 2 of 14 Pageid#: 323




                                       STANDARD OF REVIEW

        When ruling on a motion brought pursuant to Rule 12(b)(6), this Court “must accept as

 true all of the factual allegations contained in the complaint and draw all reasonable inferences in

 favor of the plaintiff.” Hall v. DIRECTV, LLC, 846 F.3d 757, 765 (4th Cir. 2017). While “the

 complaint must contain sufficient facts to state a claim that is plausible on its face, it nevertheless

 need only give the defendant fair notice of what the claim is and the grounds on which it rests.”

 Id. A Rule 12(b)(6) motion to dismiss “does not resolve contests surrounding facts, the merits of

 a claim, or the applicability of defenses.” Ray v. Roane, 948 F.3d 222, 226 (4th Cir. 2020).

        When ruling on a motion brought pursuant to Rule 12(b)(1), a court must “view the alleged

 facts in the light most favorable to the plaintiff, similar to an evaluation pursuant to Rule

 12(b)(6).” Lovern v. Edwards, 190 F.3d 648, 654 (4th Cir.1999). Dismissal under Rule 12(b)(1) is

 proper “only if the material jurisdictional facts are not in dispute and the moving party is entitled

 to prevail as a matter of law.” Evans v. B.F. Perkins Co., a Div. of Standex Int'l Corp., 166 F.3d

 642, 647 (4th Cir. 1999).

                                              ARGUMENT

        This Court should deny Defendant Hade’s motion because (I) Mr. Smith has plausibly

 alleged a violation of the ADA against Defendant Hade, and (II) this Court has subject matter

 jurisdiction over Mr. Smith’s ADA claim.

 I.     Mr. Smith Has Plausibly Alleged an ADA Violation Against Defendant Hade

        Mr. Smith has plausibly and properly alleged an ADA violation against Defendant Hade

 because (A) Mr. Smith’s allegations, taken as true, state a valid ADA claim against Defendant

 Hade, and (B) Mr. Smith’s ADA claim is timely under the Americans with Disabilities

 Amendments Act of 2008 (“ADA Amendments Act” or “ADAAA”) statute of limitations.




                                                       2
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 3 of 14 Pageid#: 324




        A.      Taken as True, Mr. Smith’s Complaint States an ADA Claim Against
                Defendants Hade and Wright

        Defendant Hade concedes that Mr. Smith has stated a claim for a violation of the ADA on

 the basis of Mr. Smith being denied “the ability to defend himself in a judicial proceeding by

 conditioning the outcome of his hearing on an activity that he could not complete because of his

 disability.” See ECF 53 at p. 12, citing FAC ¶ 223.

        The remainder of Defendant Hade’s substantive argument recasts Plaintiff’s ADA claim

 as one of “defects in courthouse facilities,” incorrectly narrowing the scope of the claim to issues

 such as “furniture and other equipment” in magistrates’ offices. Ultimately, this misdirection

 renders Defendant Hade’s remaining 12(b)(6) arguments inapplicable. Mr. Smith does not allege

 that he was literally denied entry to the courthouse, nor does he contend that his discrimination

 could have been avoided if Carroll County, as the “fee simple” title holder for the offices of

 Magistrate judges, provided more “suitable spaces,” as Defendant Hade suggests. Mr. Smith’s

 ADA claim does not concern courthouse facilities themselves, but rather unequal treatment in the

 administration of judicial services on the basis of disability. Thus Defendant Hade’s attempt to

 shift blame to Carroll County misses the mark. Mr. Smith’s argument turns on the ADA’s

 requirement that “if a person is disabled and otherwise qualified, the state must ensure that the

 person is not denied the benefits of services, activities, or programs because of his or her

 disability.” See, e.g., Zemedagegehu v. Arthur, No. 1:15CV57 JCC/MSN, 2015 WL 1930539, at

 *7 (E.D. Va. Apr. 28, 2015). Regardless of Mr. Smith’s physical access to the courthouse, once

 inside, he was denied the benefits of services and programs of the courthouse—i.e., a fair bond

 hearing—on the basis of his disability.

        Specifically, Mr. Smith has alleged that Defendant Hade has violated the ADA both

 vicariously (through the acts of Defendant Wright) and directly, by failing to administer judicial



                                                       3
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 4 of 14 Pageid#: 325




 services and programs in compliance with Title II of the ADA. Defendant Hade’s actions directly

 contravene the ADA’s requirements of “program accessibility,” and its specific purpose to prevent

 “unequal treatment of disabled persons in the administration of judicial services.” Tennessee v.

 Lane, 541 U.S. 509, 531 (2004). Mr. Smith has alleged that Hade is responsible for appointing

 magistrates (FAC ¶ 12), assisting with ADA accommodations for public programs and services of

 Magistrate judges (¶ 11), and carrying out the duty of making reasonable policies, programs, and

 modifications to comply with the ADA (¶ 14). Specifically, Mr. Smith has alleged that Defendant

 Hade enters into agreements to ensure the Virginia judiciary’s compliance with the ADA (¶ 15).

 Mr. Smith has alleged that Defendant Hade is responsible for training and educating all judicial

 branch employees (¶ 13), which includes Judge Wright (¶ 16), who denied Mr. Smith bond because

 Mr. Smith was temporarily neurologically impaired due to disability (¶ 86), and was presently

 unable to use his legs during a bond hearing due to disability (¶ 86). Mr. Smith has alleged that

 Judge Wright conditioned his freedom on his ability to “stand up and talk to [him] like a man” (¶

 85), despite Mr. Smith’s medical emergency rendering him unable to stand. Mr. Smith has alleged

 that he was denied a full and fair bond hearing because the presiding Magistrate regarded him as

 a “junkie” (¶ 87)—the exact type of “unequal treatment of disabled persons in the administration

 of judicial services” that the ADA is designed to protect against. See Lane, 541 U.S. at 531 (2004).

 These actions, caused by Defendant Hade and judicial officials over whom he had training and

 ADA enforcement obligations, contravene the ADA’s prohibition on disability discrimination in

 the administration of judicial services.

        Mr. Smith has alleged that Defendant Hade failed to discharge his duties to ensure equal

 access to fair bail and bond proceedings, and in particular, failed to educate and train judicial

 personnel to avoid discrimination on the basis of an individual’s physical ability or their perceived




                                                      4
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 5 of 14 Pageid#: 326




 status as a person with substance abuse disorder (¶ 227). Importantly, the ADAAA’s

 “implementing regulations clarify that ‘[t]he primary object of attention in cases brought under

 the ADA should be whether covered entities have complied with their obligations and whether

 discrimination has occurred.’” Donaldson v. Trae-Fuels, LLC, 399 F. Supp. 3d 555, 558–59 (W.D.

 Va. 2019) (citing 29 C.F.R. § 1630.1(c)(4)). Mr. Smith has plausibly alleged that Defendant Hade

 and Defendant Wright failed to comply with obligations under the ADA, and that as a direct result,

 discrimination occurred (¶¶ 14, 227).

        B.      Mr. Smith’s Claim is Timely Because the Four-Year ADA Amendments Act
                Statute of Limitations Applies

        Mr. Smith’s ADA claim on the basis of substance abuse disorder and its observable

 effects—in particular, his cognitive impairment and inability to stand during a bond hearing—is

 cognizable only because of the 2008 ADAAA, and therefore a four-year statute of limitations

 applies to his claim. Latson v. Clarke, No. 1:16CV00039, 2017 WL 3098124, at *1 (“If [plaintiff’s]

 claim was made possible by the ADA Amendments Act rather than the pre-amendment ADA, then

 he can invoke the four-year statute of limitations.”).

        The ADA does not itself contain a statute of limitations, so when determining whether an

 ADA action is timely, federal courts either (1) “borrow the state statute of limitations that applies

 to the most analogous state-law claim,” or “apply the federal four-year catch-all limitations

 period,” A Soc’y Without A Name v. Virginia, 655 F.3d 342, 347 (4th Cir. 2011); Latson, 2017 WL

 3098124 at *1 (internal quotation marks omitted). Whether a court applies the federal or the state

 statute-of-limitations depends on whether the plaintiff’s claim “arises under” the ADAAA or the

 original, unamended ADA of 1990. See Latson, 2017 WL 3098124, at *1–2; see also Jones v. R.R.

 Donnelley & Sons Co., 541 U.S. 369, 382 (2004); Evans v. Vanderbilt Univ. Sch. of Med., No.




                                                      5
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 6 of 14 Pageid#: 327




 3:21-CV-00439, 2022 WL 666971, at *5 (M.D. Tenn. Mar. 4, 2022). Claims that were “made

 possible” by the 2008 ADAAA carry a four year statute of limitations.

        Mr. Smith’s disability discrimination claims were made possible by the ADAAA, and thus

 the four-year statute of limitations applies. Prior to the enactment of the 2008 ADAAA, addiction

 and substance abuse were often not considered disabilities under the ADA, because they were

 “temporary” in nature. See, e.g., 29 C.F.R. § 1630.2(j), App. (1996) (“Temporary, non-chronic

 impairments of short duration, with little or no long term or permanent impact, are usually not

 disabilities.”). However, the ADAAA made three changes that expanded protection to individuals

 with addiction disorders.

        First and most importantly, the ADAAA made clear that impairments that are “episodic”

 or “in remission”—like substance-abuse disorders—can still qualify as “disabilities” under the

 ADA if they would “substantially limit a major life activity when active.” 42 U.S.C. §

 12102(4)(D). Notably, the “episodic” signs of disability used to discriminate against Mr. Smith

 during his bond hearing, including compromised cognition and inability to stand (¶¶ 75, 82, 86–

 87), were exactly this type of impairment: while not present in Mr. Smith at all times or while he

 was “in remission,” they were “episodic” in nature, arose directly from his substance abuse

 disorder, and would substantially limit a major life activity when active. See 2008 ADA

 Amendments, 42 U.S.C. § 12102(4)(D).

        Second, the ADAAA stated that the determination of “whether an impairment substantially

 limits a major life activity” must be made “without regard to” whether the individual relies on

 “mitigating measures,” such as “medication,” or “learned behavioral . . . modifications.” Id. §

 12102(4)(E)(i)(I), (IV). Third, the ADAAA broadened both the interpretation of “substantially

 limits” and “major life activity” “in favor of broad coverage of individuals.” Id. § 12102(4)(A).




                                                     6
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 7 of 14 Pageid#: 328




 These broadened definitions encompassed the state of Mr. Smith’s substance abuse disorder, for

 which he used mitigating measures (¶¶ 31–34) but that nonetheless substantially limited his life

 activity and which also put him at heightened risk of secondary medical effects (¶ 35), including

 “episodic” disability (¶ 38–41, 86).

        Implementing regulations of the ADAAA have now made explicit that addiction is a

 disability under the ADA. See 28 C.F.R. § 35.108(a)(1) (2016) (defining “disability” as “a physical

 or mental impairment that substantially limits one or more major life activities”); id. § 35.108(b)(2)

 (stating that “physical or mental impairment” includes “drug addiction”). Mr. Smith’s substance

 abuse disorder is definitionally the type of “disability” conceptualized by Congress in the

 ADAAA. Mr. Smith’s allegations of disability discrimination during his bond hearing arise

 because he was perceived as a “junkie,” (¶ 86–87), and he has alleged that he is a “qualified

 individual with a disability” under 42 U.S.C. § 12132 because he suffers from addiction,

 substance-abuse disorder, and the physical consequences of addiction, (¶¶ 34, 86, 202, 219). “[B]y

 reason of such disability,” 42 U.S.C. § 12132, he further alleges that was denied the services,

 programs, or activities of the Virginia court system, and was subjected to discrimination by that

 entity, see (¶¶ 83–91, 215–228).

        Congress      “broadened        the   definition   of    ‘disability’   by     enacting    the

 ADA Amendments Act of 2008,” and its principal purpose is “to make it easier for people with

 disabilities to obtain protection under the ADA.” Jacobs v. N.C. Admin. Off. of the Cts., 780 F.3d

 562, 572 (4th Cir. 2015) (internal citation and quotations omitted). Recognition of Mr. Smith’s

 claim as falling within the broadened definition of “disability” made possible by the ADAAA not

 only comports with the requirement to “draw all reasonable inferences in favor of the Plaintiff,”




                                                       7
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 8 of 14 Pageid#: 329




 see Ray, 948 F.3d at 226, but effectuates Congress’s purpose in expanding ADA protections

 through the ADAAA. See Jacobs, 780 F.3d at 572.

 II.    This Court has Subject-Matter Jurisdiction over Mr. Smith’s ADA Claim Against
        Defendant Hade

        This Court has subject matter jurisdiction over Mr. Smith’s ADA claim because (A)

 sovereign immunity does not apply to Defendant Hade in this action, and (B) judicial immunity

 does not apply to Defendant Hade because he is an administrator sued in his official capacity.

        A.      State Sovereign Immunity Does Not Apply to Defendant Hade in this ADA
                Action

        Defendant Hade is not immune to suit on the basis of his role as Executive Secretary; state

 officers sued in their official capacity receive sovereign immunity to the same extent as the state

 itself, and “Title II [of the ADA] validly abrogates state sovereign immunity.” United States v.

 Georgia, 546 U.S. 151, 159 (2006); see also Tennessee v. Lane, 541 U.S. 509, 531 (2004) (“[W]e

 find that Title II unquestionably is valid § 5 legislation [under the Fourteenth Amendment] as it

 applies to the class of cases implicating the accessibility of judicial services.”).

        The remainder of Defendant Hade’s cursory immunity argument rests on the argument that

 he has no specific involvement in Mr. Smith’s arrest; but Defendant Hade’s direct relationship to

 ADA compliance in the Virginia judicial system and his role in “enforc[ing] the policy or statute”

 renders him liable for ADA policy violations. See Courthouse News Serv. v. Hade, No.

 3:21CV460-HEH, 2022 WL 141532, at *3–4 (E.D. Va. Jan. 14, 2022) (extending liability to

 Secretary Hade on the basis of applicable exception to state sovereign immunity). Just as

 Defendant Hade plausibly had vicarious control over the website at issue in Courthouse News,

 “Defendant Hade operates and maintains” the system of ADA compliance of Magistrate judges in

 Virginia. See id. Mr. Smith has adequately alleged that Defendant Hade maintains a special

 relationship to the disability discrimination at issue in this case and has failed enforce the ADA


                                                        8
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 9 of 14 Pageid#: 330




 and ensure ADA compliance amongst magistrate judges (¶¶ 11–16), causing Mr. Smith’s injuries

 (¶ 227). This the Court has subject matter jurisdiction over the claims against Defendant Hade,

 despite his claims of minimal involvement in the discriminatory actions taken against Mr. Smith.

 See Courthouse News Serv., 2022 WL 141532, at *4 (“[E]ven accepting Defendant Hade's

 argument that he does not have unilateral control over court records inside of [the internet system

 for remote access to court records], [Plaintiff] has adequately alleged that he maintains a ‘special

 relation’ to the challenged policy and has ‘acted or threatened’ to enforce it. Thus, the Court has

 subject matter jurisdiction over the claims against Defendant Hade and his Motion to Dismiss will

 be denied.”) (internal citation omitted). Even absent the ADA violations committed by Defendant

 Wright, which form an independent basis for liability against Defendant Hade, Mr. Smith has

 plausibly alleged an ADA violation fairly traceable to Defendant Hade.

        B.      Judicial Immunity Does Not Apply to Defendant Hade Because He is a Court
                Administrator Sued in His Official Capacity

        Defendant Hade is not entitled to judicial immunity because (1) judicial immunity applies

 only in personal-capacity suits, and (2) absolute judicial immunity does not apply to court

 administrators like Defendant Hade.

                1.      Judicial Immunity Applies Only to Personal-Capacity Suits

        Judicial immunity, like all other forms of personal immunities, does not apply to suits

 brought against defendants in their official capacities. Judicial immunity is a form of personal

 immunity, and does not apply to official-capacity suits. Both Defendants Hade and Wright are




                                                      9
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 10 of 14 Pageid#: 331




  each sued in their official, not individual, capacities, and so neither may raise judicial immunity as

  a defense to Mr. Smith’s claims against them.1

         Defendant Hade confuses the distinction between and consequences flowing from suits

  brought against an individual in their personal capacity, and suits brought against an individual in

  their official capacity. Personal-capacity suits “impose personal liability upon a government

  official for actions he has taken under color of state law,” Kentucky v. Graham, 473 U.S. 159, 165

  (1985) (emphasis added); official-capacity suits, instead, “generally represent only another way of

  pleading an action against an entity of which an officer is an agent.” Monell v. New York City Dept.

  of Social Services, 436 U.S. 658, 690, n. 55 (1978). Both types of suits seek to impose liability on

  an individual acting under color of law; the principal distinction between personal-capacity and

  official-capacity suits is the individual on whom the plaintiff seeks to impose liability. See

  Kentucky, 473 U.S. at 165.

         For this reason, absolute and qualified immunity defenses extend only to individuals

  subjected to personal liability, see Harlow v. Fitzgerald, 457 U.S. 800, 806 (1982), and the only

  immunity defenses available in an official-capacity suit, like the present suit against Defendant

  Hade, “are forms of sovereign immunity that the entity, qua entity, may possess, such as the

  Eleventh Amendment.”2 Kentucky, 473 U.S. at 167. Because Plaintiff’s claims arise under the




  1
    Defendant erroneously states that Plaintiff sues Judge Wright in both his individual and official
  capacities, see Br. 3 n1. Both Plaintiff’s initial complaint and his First Amended Complaint state
  that both Defendant Hade and Defendant Wright are sued only in their official capacities. See ECF
  No.1; ECF No. 30.
  2
    See also, e.g., Almonte v. City of Long Beach, 478 F.3d 100, 106 (2d Cir. 2007) (“Immunity,
  either absolute or qualified, is a personal defense that is available only when officials are sued in
  their individual capacities[.]”); United Pet Supply, Inc. v. City of Chattanooga, Tenn., 768 F.3d
  464, 484 (6th Cir. 2014) (“We have always understood qualified immunity to be a defense
  available only to individual government officials sued in their personal capacity.”) (emphasis
  added); DeLong v. I.R.S., 908 F.2d 966 (4th Cir. 1990) (“While the defense of sovereign immunity

                                                       10
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 11 of 14 Pageid#: 332




  ADA, no such sovereign immunity exists. See, e.g., Georgia, 546 U.S. at 159 (2006); Lane, 541

  U.S. at 531. Defendant Hade’s cited cases arguing to the contrary—all of which are unpublished,

  non-binding authorities—are inapposite.

          Importantly, Defendant Hade erroneously casts Mr. Smith’s request for relief as seeking

  only declaratory relief and damages—omitting prospective injunctive relief in an effort to escape

  official-capacity liability. But Mr. Smith has sought injunctive relief, and he has specifically

  alleged that he was ordered on May 10, 2022 to set a future hearing date to continue his judicial

  proceedings (¶ 132), and has been unable to set that date because he has spent the last two years

  incapacitated and receiving hospital treatment for his quadriplegia (¶ 134). Therefore, Mr. Smith

  still has an outstanding obligation to set a hearing and return to the same court that discriminated

  against him in order to continue the proceedings from May 2020. In addition to declaratory relief,

  and in the face of a looming obligation to return to the court that discriminated against him on the

  basis of his disability, Mr. Smith sought injunctive relief. Such relief would, among other things,

  require Defendant Hade to comply with ADA requirements in the future administration of judicial

  proceedings.

          Because Defendants Hade and Wright are sued in their official capacities under the ADA,

  judicial immunity is inapplicable. See Livingston v. Guice, 68 F.3d 460, *4–5 (4th Cir. 1995)

  (“[T]he acts of Judge Guice are, in fact, acts of the state as well. . . . [b]ecause we find the district

  court’s sole basis for granting defendants’ Rule 12(b)(6) motions was its mistaken view of the




  is unavailable to those sued in personal-capacity suits, defenses of absolute or qualified immunity
  may still be available.”); Vanhorn v. Oelschlager, 502 F.3d 775, 779 (8th Cir. 2007) (“[A]bsolute,
  quasi-judicial immunity is not available for defendants sued in their official capacities.”); Turner
  v. Houma Mun. Fire & Police, 229 F.3d 478, 483 (5th Cir. 2000) (“[D]efenses such as absolute
  quasi-judicial immunity, that only protect individuals in their individual capacities, are unavailable
  in official capacity suits.”).

                                                         11
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 12 of 14 Pageid#: 333




  scope of judicial immunity, we reverse . . . for further consideration of [Plaintiff’s] claims under

  the ADA.”). A similar case, presented before the Southern District of Indiana, confirmed that

  judicial immunity is not available in official-capacity suits against judicial defendants under the

  ADA. There, despite the defendants’ argument that each of the named judges were subject to

  absolute judicial immunity arising from their failure to provide the plaintiff with hearing aids, the

  court concluded that that “absolute judicial immunity [did] not shield” them from suit under the

  ADA. Prakel v. Indiana, 100 F. Supp. 3d 661, 677 (S.D. Ind. 2015). The court reasoned that the

  defense is “reserved for individuals,” and the plaintiff had named “all defendants . . . in their

  official capacities.” Id.

          Importantly, Defendant Hade may not rely on the “supposed immunity” of Defendant

  Wright—which does not exist in the ADA context—to escape suit. See Livingston, 68 F.3d at *4–

  5 (“[T]he district court dismissed [the plaintiff’s] claim against the state based upon its erroneous

  conclusion that the judge was entitled to judicial immunity. . . . Having rejected the underlying

  premise of the district court's argument, we conclude that the State could not rely on its

  codefendant's supposed immunity in order to shield itself from suit.”).


                  2.      Absolute Judicial Immunity Does Not Protect Court Administrators
                          like Defendant Hade

          Defendant Hade cannot invoke absolute judicial immunity for a second, entirely

  independent reason: he is not a judge, but rather an administrator. Defendant Hade does not

  argue—nor could he—that his role to “provide administrative support for all of the courts and

  magistrate offices of the commonwealth”3 involves the type of judicial discretion that is afforded




  3
   See Office of the Executive Secretary, Virginia Courts, available at
  https://www.vacourts.gov/courtadmin/aoc/oes/home.html

                                                       12
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 13 of 14 Pageid#: 334




  immunity. “Where an official is not called upon to exercise judicial or quasi-judicial discretion,

  courts have properly refused to extend to him the protection of absolute judicial immunity,

  regardless of any apparent relationship of his role to the judicial system.” McCray v. State of Md.,

  456 F.2d 1, 3–4 (4th Cir. 1972). Defendant Hade’s role to ensure judicial compliance with Title

  II of the ADA, to assist with judicial accommodations, to train and educate all judicial branch

  employees, and to promote and administer policies to ensure ADA compliance are administrative

  functions to which judicial immunity does not extend. See, e.g., Forrester v. White, 484 U.S. 219,

  228 (1988) (“[J]udicial immunity has not been extended to judges acting to promulgate a code of

  conduct for attorneys.”). Where judicial immunity is not extended even to judges performing

  administrative acts, it does not extend to non-judges performing administrative acts.


                                             CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that this Court deny Defendant

  Hade’s Motion to Dismiss.

  Dated: August 3, 2022                                Respectfully submitted,

                                                       /s/Aderson Francois
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                                                      13
Case 7:22-cv-00238-EKD-RSB Document 61 Filed 08/03/22 Page 14 of 14 Pageid#: 335




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on August 3, 2022, I filed a copy of the foregoing document with the

  Clerk of the Court using the CM/ECF system, which will provide copies to all counsel of record

  who have entered appearances. As all parties have not yet been served with process, service was

  not completed on all parties.

                                              /s/ Marissa Hatton

                                              Counsel for Plaintiff




                                                    14
